Case 6:19-cv-01151-MJJ-CBW Document 1-2 Filed 09/03/19 Page 1 of 15 PageID #: 8




                        EXHIBIT A
Case 6:19-cv-01151-MJJ-CBW Document 1-2 Filed 09/03/19 Page 2 of 15 PageID #: 9
A lb.


;_:_t CT Corporation                                                              Service of Process
                                                                                  Transmittal
                                                                                  08/22/2019
                                                                                  CT Log Number 536105624
        TO:      Carol Herceg
                 The Prudential Insurance Company of America
                 2101 Welsh Road, Law Dept.
                 Dresher, PA 19025


        RE:      Process Served in Louisiana

        FOR:     The Prudential Insurance Company of America (Domestic State: NJ)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                  LARIZA R WILLIAMS, PLTF. vs. The Prudential Insurance Company of America, Dft.
        DOCUMENT(S) SERVED:               Letter, Citation, Petition(s), Verification(s), Interrogatories
        COURT/AGENCY:                     15th Judicial District Court, Parish of Lafayette, LA
                                          Case # C20191017C
        NATURE OF ACTION:                 Insurance Litigation
        ON WHOM PROCESS WAS SERVED:       C T Corporation System, Baton Rouge, LA
        DATE AND HOUR OF SERVICE:         By Certified Mail on 08/22/2019 postmarked on 08/21/2019
        JURISDICTION SERVED:              Louisiana
        APPEARANCE OR ANSWER DUE:         Within 15 days after the service hereof
        ATTORNEY(S) / SENDER(S):         Allen J. Myles
                                         Myles Et Myles
                                         Post Office Box 877
                                         Plaquemine, LA 70764
                                         225-687-2822
        ACTION ITEMS:                     CT has retained the current log, Retain Date: 08/22/2019, Expected Purge Date:
                                          08/27/2019

                                          Image SOP

                                          Email Notification, Legal Process Unit legal.process.unit@prudential.com

                                          Email Notification, Carol Herceg carol.herceg@prudential.com


        SIGNED:                           C T Corporation System
        ADDRESS:                          3867 Plaza Tower Dr.
                                          Baton Rouge, LA 70816-4378
        For Questions:                    954-473-5503




                                                                                  Page 1 of 1 / NK
                                                                                  Information displayed on this transmittal is for CT
                                                                                  Corporation's record keeping purposes only and is provided to
                                                                                  the recipient for quick reference. This information does not
                                                                                  constitute a legal opinion as to the nature of action, the
                                                                                  amount of damages, the answer date, or any information
                                                                                  contained in the documents themselves. Recipient is
                                                                                  responsible for interpreting said documents and for taking
                                                                                  appropriate action. Signatures on certified mail receipts
                                                                                  confirm receipt of package only, not contents.
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               R. KYLE ARDOIN                                                                                  WM

          SECRETARY OF STATE                                                                          ZIP 70802 $
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                                                 State of Louisiana
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                                                                                                Legal Services Section
                                                          08/21/2019                 P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                      (225) 922-0415




  PRUDENTIAL INSURANCE COMPANY OF AMERICA
  CIO CT CORPORATION SYSTEM
  3867 PLAZA TOWER DR
  BATON ROUGE, LA 70816



  Suit No.: 20191017
  15TH JUDICIAL DISTRICT COURT
  LAFAYETTE PARISH

  LAR1ZA R. WILLIAMS
  vs
  THE PRUDENTIAL INSURANCE COMPANY OF AMERICA



  Dear Sir/Madam:

  I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
  this document, please return it to the above address with a letter of explanation. All other questions regarding this
  document should be addressed to the attorney that filed this proceeding.




                                                                                  Yours very truly,

                                                                                  R. KYLE ARDOIN
                                                                                  Secretary of State




Served on: R. KYLE ARDOIN                                           Date: 08/20/2019
Served by: E CUMMINS                                                Title: DEPUTY SHERIFF



                                                                                                No: 1131356


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Ordered by Atty.: ALLEN J. MYLES


                                             CITATION                             SERVICE COPY
 LARIZA R WILLIAMS                                    FIFTEENTH JUDICIAL DISTRICT COURT

 VS                                                   DOCKET NUMBER: C-20191017 C

 PRUDENTIAL INSURANCE COMPANY OF PARISH OF LAFAYETTE, LOUISIANA
 AMERICA

STATE OF LOUISIANA

TO: THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
     THROUGH ITS AGENT FOR SERVICE OF PROCESS                                            SER   orq
     LOUISIANA SECRETARY OF STATE                                                     R. KYL ARDortg
     8585 ARCHIVES AVE
     BATON ROUGE, LA 70809                                                               AU 20
                                                                                            y 209
                                                                                               :
                                                                                   SEC  R OF TATE
                                                                                  COMM MAI_ DIVISION
                                                             of the Parish of E BATON ROUGE

        You are hereby cited to comply with the demand contained in the petition, a certified copy of which
accompanies this citation, (exclusive of exhibits). You should file an answer or other pleading to said petition
in the office of the Clerk of the FIFTEENTH JUDICIAL DISTRICT COURT, in the Lafayette Parish
Courthouse, LAFAYETTE, Louisiana, within fifteen (15) days after the service hereof. Alternatively, your
failure to comply herewith will subject you to the penalty of entry of default judgment against you.
        Witness the Honorable Judges of said Court, this AUGUST 6, 2019.



                                                                                           O    LArbL'‘'-8
                                                                           _)5eputy Clerk of Court
                                                                               Lafayette Parish

*Additionally, you are hereby served with the following attached documents and ordered to comply with
same:

FAXED AND ORIGINAL PETITION FOR BREACH OF CONTRACT, VERIFICATION AND
INTERROGATORIES



                           SHERIFF'S RETURN
                          LAFAYETTE PARISH SHERIFF
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                                                       STATE OF LOUISIANA

                                                       LARIZA R. WILLIAMS
                                                                                                      E ED
                                                               VERSUS

                                   THE TrUDENTIAL INSURANCE COMPANY OF AMERICA


                                   NU                                                 DIVISION " "
                                                       * * * * * * * * * * * ** * *

                                            PETITION FOR BREACH OF CONTRACT

                     TO THE HOIORA1LE JUDGES OF THE 150I JUDICIAL DISTRICT COURT IN
                AND FOR THE PAI4ISH OF LAFAYETTE, STATE OF LOUISIANA:

                           The petition ofLAR1ZA R. WILLIAMS the full age of majority domiciled in the Parish

                of Lafayette, State ofiLoulsiana and with respect represents the following:



                                                                    1.

                           Made defend4nts herein are the following:

                     A. T'ITE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a foreign
                           corporation licensed to do and doing business in the State of Louisiana.


                                                                     2.

                           At all times p   inent to this petition THE PRUDENTIAL INSURANCE COMPANY
                 OF AMERICA, w the life insurance carrier of the plaintiff, LARIZA R. WILLIAMS.


                                                                     3.

                        Apprwdatm y ten (10) years ago, LARIZA R. WILLIAMS, entered a life insurance
                                         1
                 Turnhout irrith TIIV IITITTFI111111 ii 111111111 A wrir rnun I IVY nil n inarnir i , slime" kuu
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                 WALKER and they ad two (2) children who were also on the policy as beneficiaries;
                 TREVIOUS WALKER AND TREVEIONES WALKER. LAMA R. WILLIAMS and
                 TREVOR WALK4 were divorced but LARIZA R. WILLIAMS continued to maintain life
                 insurance on him because of the children.


                                                                     4.

                           TREVOR WALKER passed away on February 17,2018.
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                                                           5.

                LARIZA WILLIAMS presented a claim under the policy and was denied because she
        was not legally married to TREVOR WALKER at the time of his death. Thus even though
        they were domestic1armors.


                                                               6.

                Petitioner      shows that for thc past ten (10) years prior to TREVOR WALKERS
        death she paid all premiums due on the policy, the policy was never cancelled.


                                                                    7.

               At tho timo of 'MINOR WALKERS death the burial expenses of Mr. Wallcer fail to its
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        means to bury him. These bills are still outstanding.


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                Amicable            has proven to no avail.

                        F petitioner prays that the judgment be rendered in their favor and against
                WHEREFO E,
        the defendant, THE       RUDENTIAL INSURANCE COMPANY OF AMERICA, for a just
         amount that is reasorble in the premises with legal interest from the date of judicial demand
         until paid and for till costs of these proceedings.
                         I
                PETITIONFRS FURTHER PRAY for all general and equitable relief.


                                                                     RESPECTFULLY SUBMITTED:

                                                                     MYLES & MYLES
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                                                        BY:
                                                                     ALLEN J. MYLES
                                                                     ait.111.61.L IILS. Licii
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                                                                     PLAQUEvIUNT., LA 76764
                                                                     (225)6V7 21133


         PLEASE SERVE:

         THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
         through its agent for service of process
         Louisiana Secretary f State
         8585 Archives Ave.
         Baton Rouge, Louis       /0809
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                                       15th JUDICIAL DISTRICT COURT

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                                              .IJI. .1. . L. 1 . U. MUM 1.1.

                                                  LAWN% It WILLIA1110
                                                           VERSUS

                     THE T UDENTIAL INSURANCE COMPANY OF AMERICA


                      NU        ER:                                                  DIVISION " "
                                                      * * * *   * * *            *

                                                       VERIFICATION

       STATE OF LOUISI A

       PARISH OF IBERTLE

              BEFORE ME, the undersigned authority, a Notary Public, duly sworn and qualified in

       and for the Parish of 1 )erville, State of Louisiana, personally came and appeared:

                                                  LARIZA R. WILLIAMS

              who, after firs being duly sworn, did depose and say that:

              Their no the iiitinnern in thn fnmaninn. Vntitinn rind thnt n11 thn nllnantinnn nf fnnt
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                                                                             a       A    WILLIAMS


              SWORN TO                SUBS 1 ED BEFORE ME, this 14th day of February., 2019.




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                                               13th JITDICIAL DISTRICT COURT
                                                       PARISH OF IBERVILLE

                                                       STATE OF LOUISIANA

                                                        LARIZA R. WILLIAMS

                                                                    VERSUS

                          THE PRUDENTIAL INSURANCE COMPANY OF AMERICA


                                   ER:                                                                    DIVISION " "
                                                       * * * * * * * * * * * * * * *

                                                         INTERROGATORIES

        TO:        THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
                   through its 4ent for service of process
                   Louisiana Scretary a State
                   8585 Archiv s Ave.
                   Baton &oug4, Louisiana 70809



                   Thc follow; g interrogatories arc propounded to you pursuant to thc Louisiana code of

        Christ Procedure, as                    anti are to te angwered under dab? in writinfli %%tun tittaan (1S)
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        INTERROGATORY N0,1:
        Pie ac give the full 4ame, address, and Telephone number of the person answering these
        interrogatories on b       of your insurance company.

        INTE OGA 0                0.2:
        Please state in deter providing copies of any documentation necessary to explain your position,
        why you denied Ms. Lariza's claim for payment under the policy.

        INTERROGATO Y NO. 3;
        ri"1"; ;;"1 .1."Arkity Ltivl• tui izieumestaiaiiity ciaUSe;
         INTERROGAT011Y NO. 4:
         State whether or           oll have ever mule written reireAt TA                           Willinnin reigivelinp, Airy idisiliwy
         to be made tothe
                       e policy.

        INTERROGATORY NO.' 5:
        Please state whetherior not you have ever previously provided a complete copy of the policy
        from ten years ago well
                             I    as any updates or changes since that time to Ms. Williams. Please
        attach a copy of the riginal policy extended to Ms. Williams to these answers.

                   OGATO Y NO 6:
         Please attach copies f all changes to date, riders, or other modifications made to the original
         policy extended to s. Williams. Please attach copies of all such modifications to your answers.
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       oath, fully and in wri ' at any time that additional information may be obtained after answers

       are filed to the in              gawks. which would bc hmishiAljf thaintnrmgatnrirs shrmirl hc

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                                                                  RESPECTFULLY SUBMITTED:
                                                                  MYLEc MYLES
                                                                  A1TO1EYS AT LAW

                                                           BY:
                                                                  ALLEN J. MYLES
                                                                  BAR ROLL NO. 8562
                                                                  'P. 0. BOX 877
                                                                  PLAQUEMINE, LA 70764
                                                                  (225) 687-2822




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                                    PARISH OF IBERVILLE

                                     STATE OF LOUISIANA

                                     LARIZA R. WILLIAMS                              EXE
                                              VERSUS

                THE PRUDENTIAL INSURANCE COMPANY OF AMERICA


                NUMBER:rg-O CA 10 11                                  DIVISION "
                                     * * * * * * * * * * * * * * *

                          PETITION FOR BREACH OF CONTRACT

       TO THE HONORABLE JUDGES OF THE 15th JUDICIAL DISTRICT COURT IN
  AND FOR THE PARISH OF LAFAYETTE, STATE OF LOUISIANA:

         The petition of LARIZA R. WILLIAMS the full age of majority domiciled in the Parish

  of Lafayette, State of Louisiana and with respect represents the following:



                                                  1.

         Made defendants herein are the following:

     A. THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a foreign
          corporation licensed to do and doing business in the State of Louisiana.



                                                   2.

         At all times pertinent to this petition THE PRUDENTIAL INSURANCE COMPANY
  OF AMERICA, was the life insurance carrier of the plaintiff, LARIZA R. WILLIAMS.



                                                   3.

         Approxiatmately ten (10) years ago, LARIZA R. WILLIAMS, entered a life insurance
  contract with THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, through her
  employer, Wal-Mart. At the time the contract was signed she was married to TREVOR
  WALKER and they had two (2) children who were also on the policy as beneficiaries;
  TREVIOUS WALKER AND TREVEIONES WALKER. LARIZA R. WILLIAMS and
  TREVOR WALKER were divorced but LARIZA R. WILLIAMS continued to maintain life
  insurance on him because of the children.


                                                   4.

          TREVOR WALKER passed away on February 17, 2018.
Case 6:19-cv-01151-MJJ-CBW Document 1-2 Filed 09/03/19 Page 12 of 15 PageID #: 19



                                                       5.

         LARIZA WILLIAMS presented a claim under the policy and was denied because she
 was not legally married to TREVOR WALKER at the time of his death. Thus even though
 they were domestic partners.



                                                       6.

         Petitioner now shows that for the past ten (10) years prior to TREVOR WALKERS
 death she paid all premiums due on the policy, the policy was never cancelled.



                                                            7.

         At the time of TREVOR WALKERS death the burial expenses of Mr. Walker fail to its
  nearest relatives which were his kids, the children of the plaintiff, because no one else had the
  means to bury him. These bills are still outstanding.



                                                     8.

         Amicable demand has proven to no avail.

         WHEREFORE, petitioner prays that the judgment be rendered in their favor and against
  the defendant, THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, for a just
  amount that is reasonable in the premises with legal interest from the date of judicial demand
  until paid and for the costs of these proceedings.

         PETITIONERS FURTHER PRAY for all general and equitable relief.


                                                             RESPECTFULLY SUBMITTED:

                                                             MYLES & MYLES
                                                              o
                                                             ATTO ?4f`.1 YS AT LAW


                                                                  / //
                                                    BY:
                                                             ALLEN J. MYLES
                                                             BAR ROLL NO. 8562
                                                             P.O. BOX 877
                                                             PLAQUEMINE, LA 70764
                                                             (225) 687-2822


  PLEASE SERVE:

  THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
  through its agent for service of process
  Louisiana Secretary of State
  8585 Archives Ave.
  Baton Rouge, Louisiana 70809
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                                   15111 JUDICIAL DISTRICT COURT

                                       PARISH OF IBERVILLE

                                       STATE OF LOUISIANA

                                       LARIZA R. WILLIAMS

                                                   VERSUS

                THE PRUDENTIAL INSURANCE COMPANY OF AMERICA


                 NUMBER:                                                DIVISION " "


                                             VERIFICATION

  STATE OF LOUISIANA

  PARISH OF IBERVILLE

         BEFORE ME, the undersigned authority, a Notary Public, duly sworn and qualified in

  and for the Parish of Iberville, State of Louisiana, personally came and appeared:

                                       LARIZA R. 'WILLIAMS

         who, after first being duly sworn, did depose and say that:

         They are the petitioners in the foregoing Petition and that all the allegations of fact
  contained therein are true and correct to the best of their wledge, information and belief.



                                                                        ZA . WILLIAMS


         SWORN TO AND SUBS                       ED BEFORE ME, this le day of February, 2019.




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                               15th JUDICIAL DISTRICT COURT

                                    PARISH OF IBERVILLE

                                     STATE OF LOUISIANA

                                     LARIZA R. WILLIAMS

                                              VERSUS

                THE PRUDENTIAL INSURANCE COMPANY OF AMERICA


                NUMBER:                                                DIVISION " "
                                     ***************
                                      INTERROGATORIES

  TO:    THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
         through its agent for service of process
         Louisiana Secretary of State
         8585 Archives Ave.
         Baton Rouge, Louisiana 70809



         The following interrogatories are propounded to you pursuant to the Louisiana code of

  Civil Procedure, as amended, and are to be answered under oath, in writing, within fifteen (15)

  days of service hereof. Said interrogatories are to be deemed continuing in nature so as to

  required supplementation of responses should further information responsive thereto become

  available.

  INTERROGATORY NO. 1:
  Please give the full name, address, and telephone number of the person answering these
  interrogatories on behalf of your insurance company.

  INTERROGATORY NO. 2:
  Please state in detail providing copies of any documentation necessary to explain your position,
  why you denied Ms. Lariza's claim for payment under the policy.

  INTERROGATORY NO. 3:
  Does the policy have an incontestability clause?

  INTERROGATORY NO. 4:
  State whether or not you have ever made written request to Ms. Williams regarding any changes
  to be made to the policy.

  INTERROGATORY NO..5:
  Please state whether or not you have ever previously provided a complete copy of the policy
  from ten years ago as well as any updates or changes since that time to Ms. Williams. Please
  attach a copy of the original policy extended to Ms. Williams to these answers.

  INTERROGATORY NO. 6:
  Please attach copies of all changes to date, riders, or other modifications made to the original
  policy extended to Ms. Williams. Please attach copies of all such modifications to your answers.
Case 6:19-cv-01151-MJJ-CBW Document 1-2 Filed 09/03/19 Page 15 of 15 PageID #: 22



  These interrogatories are to be deemed continuing so as to require supplemental answers under

  oath, fully and in writing, at any time that additional information may be obtained after answers

  are filed to these interrogatories, which would be furnished if the interrogatories should be

  continuously repeated.

                                                       RESPECTFULLY SUBMITTED:
                                                       MYLE MYLES
                                                       ATTQ1IEYS AT LAW

                                                BY:
                                                        ALLEN J. MYLES
                                                        BAR ROLL NO. 8562
                                                        P.O. BOX 877
                                                        PLAQUEMINE, LA 70764
                                                        (225) 687-2822




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